                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF VIRGINIA
                                      LYNCHBURG DIVISION

 RALPH BECK,
                                                   CASE NO. 6:16–cv–00060
                                  Plaintiff,
                       v.
                                                    ORDER REMANDING CASE
 CRYSTAL V.L. RIVERS, ET AL.,
                                                    JUDGE NORMAN K. MOON
                                  Defendants.



       Defendant Crystal V.L. Rivers, pro se, removed this case from the Bedford County

Circuit Court. Although federal jurisdiction is obviously lacking, the Court must first pass

briefly on Rivers’ companion motion for my recusal.

       Recusal is required when a judge’s impartiality “might reasonably be questioned,” or

when the judge, inter alia, has a “personal bias” regarding a party or knows that “a person within

the third degree of relationship” has an interest that could be affected by the outcome of the case.

28 U.S.C. § 455(a)-(b). The standard for recusal under Section 455(a) is based on an objective

standard, i.e., whether “a reasonable person, with knowledge of all the facts of the case, would

question the judge’s impartiality.” United States v. Mikalajunas, 974 F.2d 1333 (4th Cir. 1992)

(table decision). Under either subsection, the party seeking recusal has the burden of putting

forth facts that show the requirements of the statute are met. See United States v. DeTemple, 162

F.3d 279, 285–88 (4th Cir. 1998); E.I. du Pont de Nemours & Co. v. Kolon Indus., Inc., 847 F.

Supp. 2d 843, 857 (E.D. Va. 2012); Howard v. W. Virginia Div. of Corr., No. 2:13-CV-11006,

2016 WL 1173152, at *8 (S.D. W. Va. Mar. 22, 2016).




 Case 6:16-cv-00060-NKM Document 6 Filed 10/11/16 Page 1 of 3 Pageid#: 264
       The motion contains a single paragraph explaining why Rivers thinks I should be

recused. It alleges that I have a “‘personal bias’ regarding family members and local attorneys

that can be added . . . and called as witnesses.” Except for one person discussed below, Rivers

does not explain who these supposed witnesses are, much less why or how I would be biased

regarding them.

       Rivers does claim that a family member “has had and may still have a financial interest

that could be substantially affected by the outcome of the proceeding.” But once again, Rivers

does not identify what that financial interest is or how it would be affected by this proceeding.

She simply attaches, without explanation, a 51-page exhibit containing various documents.

While a few of these documents are signed by the family member referred to by Rivers, it is not

apparent what those documents (or any others in Rivers’ attachment) have to do with this case.

       In light of these points, I find there are no grounds for my recusal from this case. Rivers

has not put forth facts showing that the standards of recusal are satisfied, because she fails to

explain, among other things: what the alleged underlying interests at stake are; how those

interests are connected to myself or a family member; and how a decision in this case would bear

upon those purported interests. Accordingly, the motion to recuse is DENIED.

       This brings us to Plaintiff’s motion to remand and the lack of jurisdiction. The state court

complaint involves only state law claims, so diversity jurisdiction is the only possible basis for

removal. There are at least four reasons this case must be remanded.

       First, diversity of citizenship is absent because the parties are all Virginia citizens,

according to the face of the complaint and Rivers’ civil cover sheet. (Dkt. 1-1; dkt. 1-2 at ¶¶ 4-

6). Second, Rivers—as a citizen of Virginia—is barred by the “home state” rule from removing

a Virginia state court case to Virginia federal court. See 28 U.S.C. § 1441(b)(2). Third, there is



                                             –2–


 Case 6:16-cv-00060-NKM Document 6 Filed 10/11/16 Page 2 of 3 Pageid#: 265
no indication that Rivers obtained the consent of her co-defendant to remove the case, which is a

prerequisite to removal. See 28 U.S.C. § 1446(b)(2)(A). Fourth, removal is untimely because

Rivers did not remove within 30 days after she received the complaint. See 28 U.S.C. §

1446(b)(2)(B). Indeed, Rivers filed an answer and counterclaims in state court on February 16,

2016, almost eight months before she removed the case. (Dkt. 1 at 1-2).

       For these reasons, the motion to remand is GRANTED.                  This case is hereby

REMANDED to the Bedford County Circuit Court. The Clerk is directed to strike this case

from the active docket of the Court.

       Finally, this is the second time in three months that Rivers has removed a case to this

Court in which there were multiple, obvious reasons that doing so was improper. See Rivers v.

Sanzone, et al., No. 6:16-cv-43 (W.D. Va. July 28, 2016). Rivers is afforded some leeway due to

her pro se status. However, she is hereby ADVISED that federal law permits the Court to

impose expenses and attorney fees on a person who improperly removes a case. See 28 U.S.C. §

1447(c) (“An order remanding the case may require payment of just costs and any actual

expenses, including attorney fees, incurred as a result of the removal.”). Although the Court

does not take that step now, future frivolous notices of removal may subject Rivers to paying the

costs, expenses, and attorney fees incurred by an opposing party.

       The Clerk is directed to send a copy of this order to counsel of record and to Rivers.

                     11th day of October, 2016.
       Entered this _____




                                             –3–


 Case 6:16-cv-00060-NKM Document 6 Filed 10/11/16 Page 3 of 3 Pageid#: 266
